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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
OCALA DIVISION

UNITED STATES OF AMERICA

VS. CASE NO: 5:20-cr-40-Oc-28PRL

CHRISTINA LYNN CATALANO and
JOSEPH SAMUEL CATALANO

 

ORDER

This cause came before the Court on Defendants’ Joint and Unopposed Motion to
Extend Motion Filing Date and Continue Trial and Status Conference (Doc. No. 28, filed
September 28, 2020). The case is currently scheduled for the November 2020 trial term.
The Court granted the deadline extension for filing motions through October 16, 2020 (Doc.
No. 29, filed September 29, 2020). Defendants have filed their written Waivers of Speedy
Trial (Doc. No. 30 and 31).

Upon consideration, the ends of justice served by granting a continuance outweigh
the interests of the public and Defendants in a speedy trial because the Court finds that a
continuance to allow counsel time to review discovery, investigate the case and determine
if any motions need to be filed is warranted. See 18 U.S.C. § 3161(h).

Upon consideration, it is ORDERED that the Joint and Unopposed Motion to
Continue Trial and Status Conference (Doc. No. 28) is GRANTED. The case is continued
to the trial term which commences on December 1, 2020. The case is also set for a status
conference on November 20, 2020. Defendants presence are not required at the status

conference.

 
 

 

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United ftates District Judge

Copies furnished to:

United States Marshal

United States Attorney

United States Probation Office
United States Pretrial Services Office
Counsel for Defendants

 
